                   UNITED STATES DISTRICT COURT

                      DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                   Case No. 18-cr-172-1-SM
                                          Opinion No. 2020 DNH 162
Jessica M. Teixeira


                                ORDER


     Defendant’s motion for “compassionate release” from

incarceration under the First Step Act, 18 U.S.C. §

3582(a)(1)(A), given the COVID-19 pandemic, is properly before

the court as defendant has exhausted available administrative

remedies.   Doc. No. 40.



     The burden is on defendant to show that she is entitled to

relief, that is 1) that extraordinary and compelling reasons

warrant a reduction in her sentence, and 2) such a reduction

would be consistent with the sentencing factors set out in 18

U.S.C. § 3553(e) as well as Sentencing Commission Policies

(though that is not strictly required under the First Step Act).



     Here, the government concedes that defendant’s medical

conditions place her in a high-risk category should she contract

COVID-19, and that defendant has met her burden to show



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“extraordinary and compelling” reasons warranting sentence

reduction.   But, says the government, the sentencing factors

weigh heavily against defendant’s early release, particularly

the danger defendant poses to the community.      See 18 U.S.C. §

3142(g); USSG § 1B1.13(2).



     As of September 15, 2020, no staff member, and only two

inmates are positive for the virus as reported on the Bureau of

Prisons website (www.bop.gov/coronavirus), and risk management

procedures appear to be both extensive and, recently, largely

successful in controlling the spread of the virus.      The current

risk of contracting the virus is low.      And, defendant’s history

strongly militates against release.



     Defendant was convicted of wire fraud in violation of 18

U.S.C. § 1343, and money laundering in violation of 18 U.S.C. §

1957, has served just less than half of her bottom of the range

sentence to 41 months in prison.       Her offenses were serious –

defrauding innocent victims of approximately $300,000 – and her

likelihood of recidivism can fairly be described as high.

Defendant has not met her burden to show that she no longer

poses a danger to the safety of the community.      In addition,

defendant’s early release would, under these circumstances, be

inconsistent with the sentencing goals of promoting respect for


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the law, imposing a just punishment, protecting the public, and

providing for both general and, particularly, specific

deterrence.   18 U.S.C. § 3553(a).



                               Conclusion

      Given the current low risk of community spread of the virus

in the facility, the danger to public safety defendant would

pose if released, the sentencing factors militating against

defendant’s early release, and for the reasons given in the

government’s memorandum in opposition, the motion for

compassionate release under the First Step Act is hereby denied.



      SO ORDERED.

                                       ____________________________
                                       Steven J. McAuliffe
                                       United States District Judge

September 16, 2020

cc:   Anna Dronzek, AUSA
      John S. Davis, AUSA
      Jeffrey S. Levin, Esq.
      U.S. Probation
      U.S. Marshal




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